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                                            STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
    LETITIA JAMES                                                                                    DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                            LITIGATION BUREAU

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                                                       January 28, 2022
    By ECF
    Hon. Ona T. Wang
    United States Magistrate Judge
    United States Courthouse
    500 Pearl Street
    New York, New York 10007

                      Re:       Jane Smith v. Annucci, et al.,
                                21-CV-01715 (RA)(OTW) [rel. 17-CV-07954 (RA)(OTW)]

    Your Honor:

            I write, respectfully, on behalf of both plaintiffs and defendants, pursuant to the Court’s
    January 18, 2022 Order to provide a joint status report with respect to plaintiffs’ request for certain
    of the defendants’ employment application files, consisting of a background-check file and a
    psychological evaluation.

    Defendants’ Position

           With respect to the production of the background-check files, I have been advised by the
    New York State Department of Corrections and Community Supervision (“DOCCS”) that it
    consents to production of a redacted version of these files under an Attorneys’ Eyes Only
    designation, subject to obtaining releases from the individual defendants, and reserving the right
    to move for a protective order with respect to information contained in these files should it become
    necessary to un-redact portions of these files. In order to have sufficient time to review/redact
    these files, have DOCCS review these redactions, and obtain releases from the individual
    defendants whose files are at issue, defendants request that they have until March 11, 2022, to
    produce these documents.

           With respect to the psychological evaluations, DOCCS opposes production of a redacted
    version of these files. Therefore, defendants will file their motion for a protective order by
    February 4, 2022, pursuant to the schedule set by the Court.

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        In addition, at the January 18, 2022 conference, the defendants were directed to provide
plaintiffs and the Court (by February 11, 2022), with information pertaining to the number of
claims of sexual assault and excessive force made by Incarcerated Individuals at Bedford Hills
Correctional Facility (“Bedford Hills”) from 2015-2021 that were investigated by DOCCS. I have
been advised by DOCCS that during this period there were 154 complaints of sexual assault, which
can be broken down as 135 allegations of staff-on-inmate sexual assault and 19 allegations of
inmate-on-inmate sexual assault. In addition, DOCCS has advised me that during this period,
there were 85 claims of excessive force.

Plaintiffs’ Position

               With the exception of some central office records on Plaintiffs, Defendants have
made no document productions for almost seven weeks and the productions made so far have
included hardly any materials related to the specific allegations in this case – materials we have
been seeking since serving our document requests six months ago.

                As reflected above, Defendants’ unwillingness to provide redacted versions of the
complete job application materials is consistent with its practice thus far delaying production of
relevant materials and then making baseless objections in order to further delay. Defendants
could have objected to producing these materials months ago and, by now, we could have had a
resolution of the issue. We also note that while this present dispute is focused on Defendants’
job application materials, we anticipate that there are other materials within Defendants’
personnel files (including grievances that have been filed against Defendants) that are responsive
to our document requests. To the extent Defendants intend to withhold those documents on
similar grounds, we urge Defendants to brief both issues in their forthcoming motion for a
protective order.

                For the redacted portions of the job application files Defendants are willing to
produce, delaying production for another six weeks until March 11 is unjustified and Plaintiffs
object to Defendants’ additional delay. Mr. Shevlin made clear to this Court during the status
conference that he already has these documents in his possession and has reviewed them. To the
extent the delay is based on the need to “obtain[] releases from the individual defendants”,
Defendants offer no support for the notion that they must individually release responsive and
relevant discovery materials, particularly since the materials are being produced with redactions.
Plaintiffs therefore respectfully request that this Court order the production of the redacted job
application materials for the ten defendants identified in Request for Production No. 45 by
February 4. It has been six months since Plaintiffs have served their Requests for Production
without any meaningful response from Defendants. Plaintiffs have been cooperative and
accommodating, including by agreeing to multiple requests to extend the time to respond to the
complaint. We were hoping that setting a cooperative tone would benefit both sides; however,
by all outward appearances, Defendants are simply not taking their discovery obligations
seriously. Plaintiffs are concerned that unless a strong message is sent to Defendants, we will be
faced with the same baseless delays and excuses for non-production for many additional months.
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               With respect to the information Mr. Shevlin provided relating to the number of
claims of sexual assault and excessive force by inmates at Bedford Hills, we wish to clarify a
couple of points. Mr. Shevlin indicated that the figures relate to complaints that were
“investigated”. The Court ordered Defendants to disclose the number of sexual assault
complaints made at Bedford Hills since 2015, regardless of whether they were investigated. We
were unable to connect with Mr. Shevlin to clarify this issue prior to the filing of this letter1, so
we request that if these numbers reflect only the complaints that were investigated, and exclude
any complaints that were made but were not investigated, Defendants provide updated numbers
in their February 11 letter. Furthermore, Plaintiffs request that Defendants provide a breakdown
of the number of complaints made by year.




                                                                             Respectfully submitted,

                                                                             /s/ Neil Shevlin
                                                                             Neil Shevlin
                                                                             Assistant Attorney General
                                                                             Neil.Shevlin@ag.ny.gov

                                                                             /s/ David M. Stuart
                                                                             David M. Stuart
                                                                             Attorney for Plaintiffs
                                                                             DStuart@cravath.com


cc: Counsel for Plaintiffs (by ECF)




1
 We were not able to reach Mr. Shevlin because he observes the Sabbath; however, we were able to reach his
supervisor, who did not know the answer.
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